      Case 2:10-cr-00547-RFB-PAL             Document 398         Filed 10/11/11      Page 1 of 2




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 5                              UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7                                                      ***

 8   UNITED STATES OF AMERICA,           )
                                         )
 9                     Plaintiff,        )                          2:10-cr-0547-RLH-GWF
                                         )
10         vs.                           )                              ORDER
                                         )                        (Motion for Release–#390)
11   JOHN SKOOG,                         )
                                         )
12                     Defendant.        )
     ____________________________________)
13

14                  Before the Court is Defendant Skoog’s Motion for Release Pending Sentencing

15   (#390, filed September 26, 2011). The United States has filed a Response in Opposition (#392).

16                  The Court has carefully considered those documents and determines that the Motion

17   must be denied because of Defendant’s failure to meet his burden by clear and convincing evidence.

18                  Defendant argues that he has extensive family ties in his hometown of Vasilla, Alaska

19   and that he can reside with his younger sister. He argues that his mother is disabled and his grand-

20   mother has congestive heart failure, and, that he is the primary caregiver, not withstanding that also

21   living in Vasilla, Alaska, are his two sisters, three brothers and two aunts and uncles. Are they not

22   able to provide assistance to their mother and grandmother? He also ignores the fact that he has been

23   detained and faces the prospect of imprisonment, and any assistance he might provide would be short-

24   lived.

25                  He claims that he has lived in that Alaska community and never participated in any

26   illegal activity before his arrest. Contrary to that claim is the fact that he has a Hinder Prosecution

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      Case 2:10-cr-00547-RFB-PAL            Document 398        Filed 10/11/11     Page 2 of 2




 1   (2005) conviction, a conviction for Failure to Stop at Direction of an Officer (2005), and a conviction

 2   for Assault and Disorderly Conduct (2007).

 3                  Furthermore, when he was arrested he had a loaded firearm in his car, a search of his

 4   house found a bulletproof vest, and a device to detect an officer wearing a recording device. The

 5   evidence to which he admitted at sentencing established that he was sent approximately $261,000

 6   dollars to the primary defendant, Mr. Ghafouria, from the sale of Oxycodone pills by Defendant

 7   Skoog.

 8                  Title 18 U.S.C.A. §3453(a) provides that once a person has been found guilty or pled

 9   guilty the burden is on the defendant to prove by clear and convincing evidence that he is both NOT a

10   danger to the community and is NOT a risk of non-appearance. Defendant Skoog has not met that

11   burden and his Motion will be denied, without the need of a hearing.

12                  IT IS THEREFORE ORDERED that Defendant Skoog’s Motion for Release Pending

13   Sentencing (#390) is denied.

14                  Dated: October 11, 2011.

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16                                                          ____________________________________
                                                            Roger L. Hunt
17                                                          United States District Judge

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